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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

IN RE:
ALFREDO LOPEZ, Case no. 18-21590-BKC-AJC
Chapter 13 Case
Debtor(s). /

 

DAIMLER TRUST'S MOTION TO CONFIRM THAT THE AUTOMATIC STAY IS NOT
IN EFFECT
AND CERTIFICATE OF SERVICE OF NOTICE OF HEARING

Daimler Trust ("Movant"), moves for an order confirming that
the automatic stay is not in effect and in support thereof states as
follows:

1. On September 20, 2018, debtor(s) filed for Chapter 13 of
the Bankruptcy Code.

2. On November 30, 2016, debtor Alfredo Lopez and non-debtor
Yanisleidy Garcia Hernandez executed a Motor Vehicle Lease Agreement
pertaining to the lease of a 2017 MERCEDES-BENZ GLS CLASS UTILITY 4D
GLS450 AWD 3.0L V6 TURBO, VIN 4JGDF6EEXHA846452. A copy of the lease
is attached as Exhibit A.

3. Daimler Trust owns the vehicle. Proof of title is attached
as Exhibit B.

4. Debtor Alfredo Lopez and non-debtor Yanisleidy Garcia
Hernandez defaulted by failing to remit the monthly payments on the
account due for February 8, 2020 (partial payment in the amount of
$4.16 due) and March 8, 2020 and April 8, 2020 in the amount of
$1,021.26 each, plus non-sufficient funds fees in the amount of
$25.00.

5. The payoff balance owed on this loan account is $53,564.58,

good through April 15, 2020, excluding attorney fees and costs. An
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affidavit of indebtedness is attached as Exhibit E.

6. Creditor does not have verifiable proof of insurance.

7. Counsel for Movant has contacted the debtor’s attorney
prior to the filing of the motion.

8. Debtor’s Seventh Amended Chapter 13 Plan (Order confirming
plan entered on June 27, 2019, DE #76) calls for the assumption of
the lease and termination of the automatic stay upon confirmation in
rem as to the debtor and in personam as to any co-debtor.

9. A proposed order is attached as Exhibit F.

WHEREFORE, Movant requests an order confirming that no stay is
in effect in rem so that Movant may repossess or replevy the vehicle,
sell the vehicle, enforce its in personam rights against the non-
debtor and apply the proceeds of the sale to the debt owed to Movant,
and determining that Federal Rule of Bankruptcy Procedure 4001 (a) (3)
is not applicable.

I HEREBY CERTIFY that I am admitted to the bar of the United States District

Court for the Southern District of Florida and I am in compliance with the

additional qualifications to practice in this court set forth in Local Rule 2090-
1{A).

I HEREBY CERTIFY that on April 21, 2020, copies of the foregoing
motion and notice of hearing were transmitted via ECF to the Office
of the US Trustee, Nancy K. Neidich, Trustee and Robert Sanchez,
Esq., attorney for debtor; and mailed to Alfredo Lopez, debtor, 3030
NW 90 Street, Miami, FL 33147 and Yanisleidy Garcia Hernandez, non-
debtor, 3030 NW 90 Street, Miami, FL 33147.

GERARD M. KOURI, JR., P.A.

Attorney for Movant

5311 King Arthur Avenue, Davie, FL 33331
Tel: (954)862-1731, Fax (954)862-1732

[o] Gerard M. Kawi, Ju.

GERARD M. KOURI, JR., ESQ.
FBN 375969

2

By:

 
 

 

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|

" Mercedes-Benz Financial Services
FLORIDA oe :
Motor Vehicle Lease Agreement " | The First Class Lease
Dt CECE
Unless otherwise specified, “lease” rafers to this Motor Vehicle Lease Agreement; “Vvehicte" refers to the vehicle described balow; "you",
“your",.and “yours” refer to the Lessee and any Co-Lesseo; “we", “us”, and “our* refer to the Lessor and, after the tease is assigned, to
DAIMLER TRUST, or ts successors and assigns; “Assignee refers to DAIMLER TRUST or its successors and assigns. The “Vehicle Tum-tn
Fee" is-a feo to caver the cost of disposing of the vehicle, commoniy referred to ao a disposition fee. “Pro-ovmed" refers to used vehicles. You

agree ta lease the vehicle from us on the tenns and conditions provided for In this lease. The terms and conditions contained in this lease are
made on behalf of Lessor and Assignee. : :

 

The dato of tis tease is 11/30/2016 The scheduled date this lease ends is _12/01/2020 (‘Lease End’).
The scheduled term of thisteaseis___ 48 months cLease Term’.

| aa
Lassor (Doaie):_MB OF CUTLER BAY
Address: 10701 SW 211TH ST

CUTLER BAY FL 33189

 

Lessee: ALFREDO LOPEZ

 

 

 

 

 

Lessea: YANISLEIDY GARCIA HERNANDEZ
Lesses's |: 3030 NW 80 STREET
ertg MIAMI FL 33147
MIANI-DADE -
‘Gnelude County)

Address of principal gerage location, if different from Lessee's Billing Address (no P.O, Box}:

 

N/A
(lnctude County) . .

[X] standard tease © [_] singte Payment Louso

 

ifthe Single Payment Lease box is chacked above, “Monthly‘Payments” or "First Monthly Payment" ara replaced with the words “Single Lease Payment"
throughout this lease and the.word "Monthty* in section 6.1 on pan 2 Is deleted. .

  
  

5 woe A a
Volicie information

   

 

 

 

i) New oO Pre-owned 4JGDFEEEXHAS46452 Primary Intended Usa:
: VIN
‘2017 MERCEDES-BENZ GLsasow4 x] Personal oO Business, Commercial, or Agricultural Purposes
16 {f ne box Is checked, or if tha Personal box Is checked, you agree to use
Body Style Odomater Reading the vehicie for personal, famiy or household purposes.

   
    

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if you are axecuting this lease using an elactronic signature, you agree that () this lease agreement Is en electronic contract executed by you using your
electronic signature, ¢} your electronic signature signifies-your Intant to enter Into this contract and that this contract be legally vaild and enforceable in
eccordance with its terms to the same extent as if you had executed this contract using your written signature, and (ii) the authoritative copy of this
contract (‘Authoritative Copy’) shall be that electronic copy thet resides in a document Management system designated by us for the storage of
authoritative coptes of electronic records, which Shall be deemed heid by us in the omlinary course of business. Notwithstanding the foregoing, If the
Authoritative Copy is converted by printing a paper copy which is marked by as the original (the “Paper Contract’), then you acknowtedge and sgree that
(1) your signing of this contract with your efectronic signature also constitutes Issuance and delivery of such Paper Contract, (2) your electronic signatura
assodated with this contract, when affixed to the Paper Contract, constitutes your tegafy valid and binding signeture on the Paper Contract, and Q)
subsequent to such conversion, your obligations will be evidenced by the Paper Contract alone.

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Exhibd

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Consumer Leasing Act Oisci Ter

 

 

 

 

 

 

 

 

 

 

 

 

4. Amount Due|2. Monthly Payments 3. = (not part of your Monthy |4. Total of Payments|
at Lease Your first Monthly Payment of § 1021.26 26 Vehicle Turin Fee (f you (The amount you wil
Signing or a. Vehicle Tu (ify
Deliver is due on_11/30/2016 __, fofowed by! do not purchase the vehicle - . have paid by the

ry __47 __ payments of $ __ 1021.26 dua} at Lease End) $__595.00 | end of the tease)
(temized below)"] onthe___Sth__ of each month. The total b_WA SNA
$__8000,00_ your Monthly Payments is $__49020.48. c. Total s__5895.00/s___—«56594,22_
*§. temization of Amount Oue at Lease Signing or 6. Your monthly payment is determined as shown below:
Delivery . ta.
a. Gross’ Capitalized Cost: The agreed upon
a. Amount an at Lemna Signirig or Defivery: value of the vehicle ($ _78980,00 ) and
1 a ayer any items yau pay over the lease term (such
{inchides sales/use taxes) .........-.. $1021.26. as service contracts, insurance, and any
2. Capitalized Cost Reduction ........... +$___4804.07_ —_ outstanding prior credit or lease balance) .... § _82189.00
3. Acquistion Fee (if not caphaized) ......+§ 1086.00 5, Capitalized Gost Reduction: The amount of
4, SatesiUse Taxes... 0... 2.6602 eee t§ 168.58 any net trade-in afowance, cebate, noncash
5. Refundable Security Deposit .......... +$ NWA credii, or cash you pay that reduces the Gross
6. TWe Fess Capitalized Cost...... 0... .ec ee eee ee ee -$___4604,07
beet eee eaucnneeeeneenees NIA
*§ c. Adjusted Capitalized Cost: The amount
7. License Fees......... Fee wee eee race +3 177,38 used in calculating your Gaso Manthly
8, Registration Feas.............0..068 +$ N/A PayMent ........0 ccc eee eee eee eee eee 2§ 77884.93.
9. Prodelivery Service Chargef......-... +S 589.00 d. Residual Value: The value of the vehicts at
40. Prior Lien or Lease Batance........... +$ N/A the end of the lease used tn calculating your
Base Monthly Payment................... -$_ 40255.00
11. NIA +3. NA se Monthly P
FL FEES @. Depreciation and any amortized amounts:
12. +$__88.50_ The amount charged for the vehicle's deciine
13. N/A +$ NiA| in value through normal use and for other
14. CAP RED TAX +s 278,24 items paid over the lease term ............. =$__37329.93
rr «3 8000.00 ¢ Rent Charge: The smount charged in addition
TT fo the Depredstion and any amortized
b. How the Amount Due at Lease Signing or . armounts rer era ar + S__ $483.67
Delivery will be paid: — ; g. Tetal of Base Monthly Payments: The
1. Net Tradadin Allowance ........- Dees $0.90 _ Depreciation and any amortized amounts pius
ne Ta =——sd«sothe Rett Charge... 2... eee eee eee =$ 46813.60
2. Rebates and noncash credits.......... +§ N/A h va Oe th her of ants | s
. Loase Payme enum payments in
3. Amount to be paki in cash ..........,. +$_8060.00 JUrIGSE sec esesesesesessees + 4B
4. WA +$ WA _ L Base Monthly Payment ................. =$ 954.45
§. Teta... ccc ce eee cece ane =$ . g000.00 i Monthly Satesieo Taxes................ $ 86 81
+ This charge represents costs and profit to the dealer for items “k NIA es N/A_
such as inspecting, cleaning, and adjusting vehicles, and ”
preparing documents related to the lease. |. Total Monthly Payment...........-...... =$_ 1021.26
7. Earty Termination. You may have to pay a substantiat charge if you end this (tease earty. Tha charge may be up to saveral
thousand collars, The actual charge will depend on when the lease ts terminated, The earlier you end the lease, the greater this charge
is likely to he. .
8..Excessive Wear and Use. You mey be charged for excessive wear based on our standards for normal use and for mileage In excess of
48,000 . rhites: (Mileage Allowance) for the term of this. tease, at the rate of_ 2B oper mila ;
9. Purchase. Option at End of Lease Term. You have. an option to purchase the vehicle (‘as is”) af the end of the lease term for
$ _40255.00 _, plus a Purchase Option Fee of $___ 180,00, plus a processing fee of $ N/A_. plus all official foes and taxes.
See the Purchase Cption section on page 7 of this lease for more Information.
10. Other important Terms. See your lease documents for additional information on early termination, purchase options, maintenance
res warranties, tate and default charges, Insurance, and any security Interest, If appilcable. ;

 

 

 

   

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Cansumer Loasing Act Qisciosures (Continued)

41, ttemization of Gross Capitalized Cost.

 

 

 

 

 

 

fa: Pree of Vehicle... eee eeecbeveeeevers seguvedesscuvtenterrece veeteeeeetgpeetentteseteesses & £78990,00°
b. Approved-Dealer installed Equipmian!... 000. .ccsy ccosstlegeecteeeees eee e beet ea eee tenn enea ene canes s___-_NiA_
ee ‘s____ N/A,
d. Extended Warranty o.oo... eee cee ectenede ees bee ceca sees eae easeeugeeeaussegcauseeteveeeceaeneens ‘$s ___N/A_
2 Credit Life andlor Credik Disabitty Premiim —_— eee E EASES ES de eR ADEE EEE OME EAR RE EEE EE EEE aT EE EES $___N/A_
f Current Year Taxes, Title, Licenses, Registration... coe... cc ceeecceeebecccececseenaseeueeeswscaseueneees $_____N/A_
g. Acquistion Fae...... 26... veveeeeeee cece ene tee eseeeseeeeeceesueeaeaaetsensevertsseecsueeserens $ N/A
h. Sates/Use Taxes..... 2... wee be cael ve eve se ceesduseccheseseaesea cnetsvasuacaeesteneerenneceeneetsanes 8 NIA
1. Other Tax (describe) N/A - oo . : $ N/A
|. Predellvery Service Charge t........2.....ceieecseceeeecnes vedeeeaevedevevessaeeaeuenes eceustuewseeeees s___NiA
Kk Prior Lienor Lease Balance... o.oo cece c ec cece cece seeegesaenseevsteeeuserveaseuueeeceserneenanes $ ____N/A_
. NIA : $ N/A
m _FC W&T {$ 1940.00) __- a . _. oe $ 1 00
n. FC POR($ 650.00) _ : ee $§ ___550,00.
o. KEY REPLACEMENT {§ 400.60) $ 400.00.
p. FGIEL ¢ 309.00) re _ $s __ 209,00
q. Total Gross Capitalized Cost o.oo... eee eee cbccuccccccecevevens veveeeeeees evuvlecteveseeruanveces $ _82189,00

Tf This charge represents costs and profit to the dealer for items such as Inspecting, cleaning, and adjusting vehictes, and preparing

12. Estimated Official Fees and Taxes. ‘The total estimated amount you will pay for official fees, icense, tits and registration fees, and taxes

over the.temm of your lease, whether included with your Monthly Payment or assessed otherwise is $ g __. This Is an estimate and
the actual total of Offical Fees.and Taxes may be higher or lower than this-estimats. The actuaf total of Offidal Fees and Taxes‘depends on the rates in
effect, the value ofthe vehicle and the garage Iocation.cf the vehicie at the time the fees and taxes are assessed, . mo

13. Mileage Allowance. The odometer reading in the Vehicle Information:section of this lease provides:the number of miles existing on.the vehicte
when you entered this lease ("Existing Mites"). Your Mueage Allowance provided in section’ 8 sefers to miles ditven- during the Lease Term and dogs not

inchrta the Existing Miles:

f your Mileage Adowance in Section 8 on page 2 is greater than __ 48.000 _ “Base Mileage Amount", you have chosen to purchase
additonal mils for your Mileage ABowance determination: if you have purchased additional miles, then-at Lease:End, except 8S. provided below, you wil
be eligibte for.a creditor refund of ___20)_ per milla for‘eny unused additions! miles between the Base Mileage Amour and your Mileage Allowance
over the term of the lease. You will not recotve a refund if the veliléte [s destrayed or stolen, you, are In default, you-purchase tha vehicla, of the refund
14. Missing Records. if you do not return thé vehicle's maintenance booklets as provided in the Maintenance section of this-Jease, you will owe a
missing re ‘fee inthe amount of $ N/A . . ' / .

15. New and Pre-owned Vehicle Warranty. 1 the vehicte is new, tts covered by a standard new vehicle warranty from the manufacturer.
Ifthe vehicia is pre-owned, itis nol covered by a warranty uniess indicated by acheck in the corresponding’ box beta:

0 Remainder of standard new vehicle warranty fron mariufacturer

Oo Pre-owned vehicle warranty from mariufactirer

[[] Pre-owned warrenty from other thire-pasty. provider :

We assign to you all rights we have under any of these warranties. You acknowledge that you have fecelved @ copy of the Indicated warranties.

We teaze the vehicle to you “AS IS*. EXCEPT AS EXPRESSLY PROVIDED UNDER THIS LEASE, AND UNLESS PROHIBITED BY LAW, WE
‘MAKE NO WARRANTIES OR REPRESENTATIONS, EITHER EXPRESS OR IMPLIED, AS TO THE VEHICLE'S (OR ANY PART OR ACCESSORY
THEREOF) CONDITION, MERCHANTABILITY,.OR FITNESS FOR ANY PARTICULAR PURPOSE AND WE MAKE NO OTHER REPRESENTATION
OR WARRANTY WHATSOEVER. a

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Consumer Leasing Act Disciosures (Continued)
- 46. Optional Insurance and Other Products. You are not required to buy any of the opticnal insurance or other products isted on this page
to enter into this lease, and they are not a factor in our credil decision. These Inswance and other products will not be provided unless you are accepted
by the provider. By your initials on this page, you agree that you have recelved.a notice of the terms and cost of the insurance or product, and you want
to obtain the Insurance or product for the premium cr charge shown. A portion af the premium or charga shown may be retained by-the Lessor (Dealer).
These coverages are nol provided by the Lessor. You must pursue ell matters related to these coverages, including refunds, through the provider. The
terms and conditions for these coverages are provided In a separate contract, which you acknowledge that you have received and read.

if the price of these coverages is also Included in the itemization of Gross Capitalized Cost, t wil be included in the Base Monthly Payments. If not, you
have pald for the coverages in full upon signing this lease.

Unless you receive written notification otherwise, credif fe and credit disability Insurance end on the original due date of the last payment due under the
tease. . :

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(CJ creat Lite Provider: ([] credit Disabitty Provider:
NIA N/A
Intial Coverage:$_— N/A Premium:$_ CNA Maximum Mo. Beneft:$_— = N/A Premium: $__ SONA
Lessee Initials: N/A Lessee Initials: N/A
| Co-Lessee Inifiats: N/A . Co-Lesses Initials: N/A_
CO Service Agreemant Provider, Cc) Extended Warranty Provider:
NIA _NIA
Coverage.is for_N/A_ months or N/A_ miles, whichever Coverage is for_N/A months or N/A_ miles, whichever
happens first. ‘| happens fisst.
Premium orcharge:$_- «WA Premium or charge: $ WA
Lessee Initiais: _- N/A Lessee Initials: NWA
Co-Lessea Initials: N/A Co-Lessee Initials: . N/A

 

 

 

 

 

 
      
 

   

Fave Telit Glare TOTES OL OR Te TS
Lessor's Right to Cancel. By signing this-section, you agree that the provisions of the Lessor’s Right to Cancel section on page 10 of this lease
will apply, which gives lye’Lessor the right to cancel if Lessor Is unabte to assign this tease within 15 days. If you fail to retum the vehicte within
48 hours after re Gf fhe notice of cancellation, you agree to pay Lessor $_125,00 _ per day from the date of cancellation until the

  

Coin

 

  

 

 

 

ANY

Less08,ALPREDO LOPEZ ee ISLEIDY GARCIA HERNANDEZ
Description of Trade-in:
_N/A_ _N/A _NWA $

Year Make Modal Amount of Trade-in Credit used to Reduce Capitalized Cost

 

THiS IS A LEASE AGREEMENT. THIS IS NOT A PURCHASE AGREEMENT. PLEASE REVIEW THESE MATTERS
CAREFULLY AND SEEK INDEPENDENT PROFESSIONAL ADVICE IF YOU HAVE ANY QUESTIONS CONCERNING
THIS TRANSACTION. YOU ARE ENTITLED TO AN EXACT COPY OF THE AGREEMENT YOU SIGN.

 

 

 

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Io renee iOS OLE CREASES

NOTICE TO LESSEE: (1) DO.NOT SIGN THIS AGREEMENT BEFORE YOU READ IT OR IF IT CONTAINS ANY
BLANK SPACES. (2) YOU ARE ENTITLED TO A COMPLETELY FILLED IN COPY OF THIS AGREEMENT WHEN
YOUSIGNIT a
LESSEE
‘By signing below, you acknowtedge that

* This lease is completely filed out:

* You have recelved and read -all 11 pages’ cf this lease carefully and agree to .all_of ts terms, INCLUDING THE IMPORTANT ARBITRATION
‘DISCLOSURES ON’PAGE-11; ——- . mo, . :

* You have recelved’; copy of this lease; and the Lessor may assign all right, tile, and interest

   

5 ase, vehicle ‘and Guaranty to

  
 

 

 

 

 

 

Lessee ALFREDO LOPEZ

"Tie : = Title

Onvers Liconse Number/State river's License Number/State
GUARANTY

The Guarantor(s) named below absolutely:and uncond2onally guarantee(s) paymént of all. arnounts owed under this leasé: This means ff the lessee(s)
fail{s) to pay any money owed, guarantor(s) wil pay if. All Guarantor(s) shal be jointly and severally fable and agree that this quarenty shall not be
affactad by any changes to this tease. Guarantor(s) also agree to be [latle for all feés and costs, incliding attomoys’ fees, that the Lessor incurs in
enforcing this tease ‘or guaranty, : ’ .

Guarentor(s) has/have received a completed copy of this lease-and guaranty at the time of signing.

 

 

 

 

 

 

 

Print Name — — | int Nane
Address . Adios

  
   

AND ASSIGNMENT ..

RST f.sor accepts the terms and conditions:¢f this Lease, Lessor assigns afl right, ttle and Interest to this lease, Vohicle and Guaranty
Gcl tothe tenps-and conditions of Lessor's. agraement(s) with Mercedes-Benz Financlai: Services USA LLC.

 

x FINANCE & INSURANCE MANAGER

Lessor Tite oo
©2014 Mercedes-Benz Financia) Services USA LLC ras . 11/30/2016 07:40 pm
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Notices/Signatures (Continued)

 

* AUTO PAY DEBIT AUTHORIZATION
Effective on the same date as my lease agreement (the "Agreement’), | (hereafter "I", "mo" or "my") hereby authorize Mercedes-Benz Financial Services
USA LLC and ils successors or assigns ((MBFS") to initiate.recuring Electronic Funds Transfers (EFT from the account with the financial institution
listed below. The amount of each such EFT will be-equal-to my regularty scheduled payment due under the Agreement. | acknowledge and agfee that
the amount of my regulary scheduled payment may increasp as provided In the Agreement. in the event my reguiarty scheduled payment due under the
Agreament Increases by an amount not exceeding $100, | hereby authorize MBFS to increase the amount of the EFT(s) covered by this authorization
wihoul providing me notice of such Increase. In the event my reqularfy scheduled payment Increases by more than $460, | hereby authorize MBFS to
increase the amount-of the EFT(s) covered by this authorization after providing me written notice of such increase. | hereby direct the financial institution
Hentified below to honor any such increase in EFT(s) from my account. | represent that the bank account information provided below is for an account
located in the United States, and in the event the account fs not under my sole ownership, | am authorized to Intlate such debit entries from the account.
1 further agree to provide all banking information requested below, or to deliver a volded check, along with this authorization, drawn on the finandal
institution identified below. | understand that any flnancial information provided herein shall be deemed a part of this authorization. | may cancel this
authorization by one of the following methods: (a) sending a written cancellation request by regular mail fo MBFS Client Care Center - Auto Pay
Department, P.O. Box 685, Roanoke, TX 76262, or by ovemight mall to MBFS Client Care Center - Auto Pay Department, 13650 Heritage Parkway, Fort
Worth, TX 76177; (b) sending an email requesting cancellation addressed to: autopaycancelgdaimier.com; (c) sending a cancellation request by
facsimile to (800) 283-9632: (d) enrolling as a registered user at MBFS.com and. canceling:as provided in thai website; or (6) providing verbal notice of
cancellation by calling (800).654-6222, This authorization will remain in full force and offect until | cancel it by a method listed herein, MEFS cancels It in
writing, or all Agreement obBgations are satisfied. if-a payment Is due on a bank hollday or a weekend, 2 will be deducted from my gocount on the next
business day, A payment will be deducted on each scheduled due date.

PLEASE REVIEW ALL PAGES OF THIS LEASE FOR ADDITIONAL
TERMS AND CONDITIONS, INCLUDING ARBITRATION DISCLOSURES.

 

Operation and Maintenance

47. Maintenance. You agres to maintain, service and repair the vehicle according to the manufacturer's recommendations and any applicable
warranty with genuine Mercedes-Benz replacement parts and approved replacement fires. You will keep the vehicle in good operating conditton and
_retum the maintenance bookiets with the-vehicle. You agres to comply with all vehicle recall notices. You agree to pay for all operating costs including,
but-not fimited to gas, oil, Inspection and certification fees, fines, towing, and replacement tires. Lessor will not provide maintenance services untess you
agree at your option to buy a.separate maintenance agreement.

18. Prohibited Uses of Vehicle. You agres not to use or allow anyone else to use the vehicle: (a) in a way that Wolates the law or the terms of
your insurance policy or that causes cancellation or suspension-of eny applicable warranty, and (0) to transport goods or people for pay. You also agree
not to take the vehicle outside the United States: however, you may take the vehicle to Canada or Mexico for 30 days or less.

tn addition, you agree not to use of allow anyone else to use the vehicle for more than 30 days outside the state whore you first registered tt or recorded
the (ite unless you first have our written consent.

You will not change.or modity the vehicte’s body or interfer In any way uniess you first get our written consent. If you add parts to the vehicle that cannct
be removed .wihout harming the vehicte’s usefulness or value, you understand that these parts become aur property. We may inspect the vehicle at any
reasonable time. .

You will not assign or sublease any interest In the vahicte or thls lease. You will keep the vehicle and lease free from ail Hens.

You agree that you and anyone else that uses the vehicle are fable for any (njury, death, or damage arising out of the use of the motor vehicle, and that
we are not Rabie for any such.Injury, death or damage.

  
 

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19, Vehicle Insurance. THE VALID AND COLLECTIBLE LIABILITY INSURANCE AND PERSONAL INJURY
PROTECTION INSURANCE OF ANY AUTHORIZED RENTAL OR LEASING DRIVER IS PRIMARY FOR THE LIMITS
OF LIABILITY AND PERSONAL INJURY PROTECTION COVERAGE REQUIRED BY SECTIONS 324.021(7) AND
627.736, FLORIDA STATUTES.

You agree to provide primary insurance coverage as indicated below during the lease and unt the vehicle Is returned: (a) fabiity insurance with limits of
not lass than $100,000 per person for bodily injury, $300,000 per accident for bodily injury and $50,000 per accident for property damage; (b) collision
{insurance for the actual vatue of vehicts and with @ deductible no higher than $2,500; (c) comprehensive fire and theft insurance for the actual value of
vehicte and with a deductible no higher than $2,500; and (d) uninsured motorist coverage as required by law in the state where the vehicle is registered.
You may‘obtain Insurance from an insurer of your choice which is reasonably acceptable to us. The Insurance policy must name Assignee as additional
(Insured end loss payee and you niust provide us with a copy of-your policy, If you carry excess or umbrella Hability Insurance, !t will Include our interest to
the extent provided by law. The poficy must naquire the insurance company to notify us at least 30 days in advance of any changes in coverage or
cancelistion. You will notify us and your Insurance company within 24.hours afler any damage, loss, theft, seizure, cr impoundment of the vehicle, For
calms arising under your Insurance that concem physical damage to the vehicte, you-appoint us your attomey-in-fact to initiate, settle or release the
claim. You authorize us to cash or negotiats checks or drafts or cther payments received from your insurance company and enderse your name on such
Rems if you are a payee. You also give us a security Interest in any money paid under your insurance.

No physical damage or liability insurance coverage for bodily injury or property damage caused to others is
included in this lease.

20. Total Vehicle Losa/Gap Waiver. ifthe vehicie Is subject to a total loss due to collision, destruction or theft, you will pay us the Gap Amount
wiich ts the difference between the Early Termination Liability and the insurance proceeds we receive based on the tofal loss. We agree {to waive the
Gap Amount # you had the vehicle insurance required by this tease at the time of total loss, in which case you will pay to us the sum of: (a) afl unpaid
amounts that are due cr past due under this lease; plus (b) the amount of your insurance deductible; plus (c) any other amounts that were subtracted
from the vehikée's. actual cash value to determine the Insurance proceeds we received for the total less. If this is a single payment lease, you will receive
a refund equal to your Isase payment divided. by your Lease Tesm (as shown on page 2 of this lease) times the number of months left.in this lease at the
ime of the loss of the vehicle. {f you do not have Insurance’ on the vehicle or your insurance company denies part or all of your clatm, you will be in
defaull and wil pay us the earty termination fiaiilly set forth in sectian 23. . .

This subsection wil not apply and you wil be in default If you accept a cash value setttement from your insurance company without firs! receiving our
consent and forwarding any such seitfement to us. ; * :

End of Lease |

 

21. Purchase Option. if you purchase the vehicle at any time, you.agree to se-register and re-titts the vehicle in your name no tater than 30 days
from the time you purchase i. If you fail to do so, we reserve the right to cancel the registration.

a. Scheduled Termination. Ai the end of the scheduled Lease Term, you may purchase the vehicle “as Is” for the amount set forth in section 8 on page
2 of this lease.

Purchase Option Price (described betow).

1) Standard Loase - Early Purchase Option Price. If this is a Standard Lease as indicated on page 1 of the lease, the Early Purchase Option Price Is
the sum oft-(a) any fease payments or other amounts due under the lease at the time of termination; (b) all fees and taxes assessed on or billed in
connection with this lease or the vehicle; (c) an amount equal to the Vehicle Tum-in Fee on page 2 of this lease; (d) the Adjusted Lease Bafance
(explained betow): and (e) 4% of the Adjusted Lease Balance.

The Adjusted Lease Balance Is calculzted by reducing the Adjisted Capitalized Cost each month, on each monthly payment due date, by the
difference in the base monthly payment and the part of the rent charge eamed tn that month calculated on a constant yietd basis.

2) Singte Payment Lease - Early Purchase Option Price. If this is a Single Payment Lease as Indicated on page 1 of this lease, the Early Purchase
Option Price Is: (a) any lease payments or other amounts due under the lease at the time of termination; plus (b) an amount equal to the Vehicle Tum-tn
Fee on page 2 of this laase; pfus (c) all fees and (axes assessed on or billed In connection with this lease or the vehicte: plus (d) the Residua! Value
printed on page 2 of this lease; plus (e) 4% of the Residual Value; less-(f the uneamed rent charges you paid calculated on a constant yield basbs.

22. Retum of Vehicte.

@. Scheduled Termination. If this lease is not terminated earty and you do not purchase the vehicte, you will, at Lease End: (1) retum the vehicle fo us
at the time and place we specify at your expense: (2) complete and sign odometer statement and, if not already signed, the vehicle condition report: (3)
pay the following amounts: (a) any amount owed for excess wear and use (expisined in'section 22.a.2.); plus (b) all unpald amounts thal are due or past
due under this laase; plus (c) the Vehicle Tum-In Fee provided on page 2 of this lease: plus (d} any official fees and taxes retated to the scheduted
termination; plus (6) the Missing Records Fee in the amount provided on page 3 of this lease, if any maintenance bookdsts aro not retumed with the
vehicle. You agree fo cooperate in the completion of the conditicn report, which wil be prepared close to or at Lease End. You understand that we may
engage a third pasty to conduct the vehicie inspection and to prepare the condition report.

1) Failure to Retum Vehicte. if, at Lease End, you do not retum the vehicte to us or you do net exercise your option to purchase the vehicle, you will be
in defeuil and you must pay the purchase price in section 9 unless we agree to an extension in writing. If this is a Standard Leasa, as Indicated on page 4
of this lease, you will pay an amount equal to your Total Monthty Payment provided on ‘page 2 of this lease for each month that you retain the vehicle
after Loase End, or part thereof, until wo receive the purchase price or written extension agreement. If this is a Single Payment Lease, as indicated on
page 1 of this lease, you wil pay an amount equal to the Total Singte Payment divided by the Lease Term for each month, or part thereof, that you retain
the vehice past Lease End until we receive the purchase price or extension agreement. Our acceptance of any lease paymonts after Lease End does
fot give you the right to keep the vehicte and it does not mean that we agree to extend this lease.

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b, Before Scheduled Termination. At any time before the scheduled Lease End, you have en option to purchase the vehicle "as is" for the Early

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End of Lease (Continued

2) Standards for Excess Wear and Use. Uniess you are charged'an Earty Return of Vehicle Charge determined by Calculation Aor C in section 22.b.

" of this lease, If you do not purchase the vehicte, you agree to pay for excess wear ard use. Excess wear and use includes a charge for any miles driven
in excess of the Mileage Allowance and the estimated cost.of repalis to the vehicle that are the result of excess wear and use, whether or not we actually
repair the vehicle. In addition to mites driven in excess of your Mileage Allowarite, excess wear and use includes, but is not limited to: (e) damage to the
major driveline components (engine, transmissicn, differential) not.covered by warranty, (b) damage to the electrical system or battery; (c) damage to the
frame; (d) missing or broken parts, equipment or accessories, Including optional factory equipment, keys or cemote keyless entry devices, tool kits, or
anything else that was in or on the vehicle when you received It; (6) missing tires, tres’ that are lesser quality than the ortginal tires, tires that are nol

- produced by the same manufacturer, tires of unequal size (diameter), tres that have sidewall plugs, cuts or-exposed cons, tires that have fess than 18
inch tread, or wheels that sre broken or cracked; (f) damage to the body, fenders, metalwork, lights, tim or paint, including but not imied to dents or
rust; (g) damaged cr stained dash, floor covers, seats, or any other part of the intestor,. (h) nonfunctioning, discolcred, tinted, or broken giass, including
stars, cracks, holes or plugs; {1} failure to maintain the vehicle according to the manufacturer's specifications; () after market alterations not Installed by
an authorized dedler, (k) water damage’ () damage that makes the vehicle run in a noisy, rough, or improper way, or that makes the vehicle unsafe or
unlawful; and (m) any other damage to the interior or extertor that Is beyond ordinary wear and use,

b. Earty Termination by You. If you are not in defauit and you do net purchase the vehicle, you may terminate this lease at any time. It you terminate
your lease before the Lease’End, you must retum the vehicle to us and pay your Early Retum of Vehicle Charge (described below).

4) Standard Lease - Early Retum of Vehicle Charge. If this ls a Standard Lease, as indicated on page 1 of this lease, your Earty Retum of Vehicle
Charge ts determined by Calculation A or Calculation 6, befow, whichever is less: ,

Catculatton A: (1) All unpaid Monthly Payments that have accrued up to the date of termination; plus (2) All other unpaid amounts, other than excess
wear.and use and mileage charges, due under the lease; plus (3) All official fees and taxes related to the lease or the vehicte in connection with lease
terminaticn; plus.(4): The Vehicle Tum-in Fee; pius (5) Any positive amount determined by subtracting the vehicle's then Fair Market Wholesale Value
from the Adjusted Lease Balance; plus (6) An early termination (ee of 3.15% of the remaining Base Monthly Payments if the Lease Term is 1-59 months
or 4,24% of the remaining Base Monthly Payments If the Lease Term is 60 months or more. .
Cateulation &: (1) All Monthly Payments not yet due under the’ faase; plus (2):Aa unpaid Monthly Payments that have accrued up to the date of
termination: plus (3) All other unpaid amounts due under the tease; plus (4) All offidal fees and taxes related to the lease or the vehicle in connection
with fease-termination; plus (5) The Vehicle Tum-in Feo; plus (6) The amount, ¥ any, for excess wear and use, which includes a charge fer excess
mileage. . - ‘ .

2) Single Payment Lease - Early Return of Vehicle Chargo. If this Is a Single Payment Lease, as indicated on page 1 of this lease, your Earfy Retum
of Vehiicla Charge is determined by Calculation C or Calculation D, below, whichever is lass:

Caiculation C: (1) All unpaid amounts due under the lease, other than excess wear and use and mileage charges; plus (2) All official fees and taxes
related to the fease or the vehicte in connection with lease termination; plus (3) The Vehicle Tun-in Fee; ptus (4) Any positive amount determined by
subtracting the vehicle's then Falr Market Wholesale Value from the Residual Value; fess (5) 88.6% of the uneamed rent charge calcutated on a

constant ylefd basis if tha Lease Term is 1-59 months or 65.1% of the uneamed rent charge calcutated on a constant yield basis if the Lease Term Is 60
months or more. :

Catcutation D: (1) Al unpaid amounts due under the tease: plus (2) All official fees and taxes related to the lease or the vehicle in connecilon with lease
termination; plus (3) The Vehicle Tum-in Fee; ptus (4) The amount, if‘any, forexcess wear and use, which Includes a charge for excess mileage.

3) Fair Market Wholesale Vatue. The Falr Market Wholesale Value wil be determined In one of the following ways: (a) In accordance with accepted
practices in the attomobile industry for determining the wholesale value of used vehicles; (b) by disposing of the vehicle in a commercially reasonable
manner, (c) within 10 days of earfy termination, you may obtatn, at-your own expense, from an independent third party agreeable to bath you and us, a

. professional appraisal of the wholesate vatue of the vehicts that could be realized at sate: the appraised yalue shall be a binding determination of the
Fair Markel Wholasale Value; (d) if the vehicle Is subject to a total toss due to cofiston, destruction or thefl as determined by us, the Fair Market
Wholesale Value wil equat: () the amount of any proceeds we receive from your insurance; plus ¢() the amount of our deductible under such insurance ff
that aitiount has been paid to us; # there are no insurance proceeds, the Falr Market Wholesate Value will be zero.

23. Defauitt.

a.Earty Termination by Us. We may terminate this lease at anytime if you are'in default (see section 23.b.) and you must pay us your Early Termination
Liabitity. Your Earty Termination Liabifity equals all expenses related to. recovering, obtaining, storing and preparing for sale and selling the vehicle,
including, but nat limited to, resscnable attomey fees, collection costs, and cout cests, to the extent not prohibited by law; ptus: (1) if this is a Standard
Lease as indicated on page 1 of this lease, the amount determined by Calculation A in section 22.b.; or (2) if this is a Single Payment Lease as indicated
on page 1 of this lease, the amount determined by Calculation C in section 22.b.. - .

b. Events of Default. You will be in default if. (1) you fail to make any payment when due, including any amount required to be paid under the secilons
of this lease.entited RETURN OF VEHICLE, Scheduled Termination or Earty Termination by you; (2) you break any promise or conditions in the lease or
any other agreement with us; (3) you fail to maintain required Insurance or you do anything that invalidates your required Insurance; (4) you fail to retum
the vehicta as we specify; (5) you gave false or mistezding information tous on your credit application or other document; (8) you die, are declared
incompetent, become Insolvent, a bankruptcy petifion Is fled by or against you, or ycu dissolve active business affairs; (7) the vehicle is seized, ar levied
upon by any government or Jegal process; (8) the vehicle is destroyed, abandoned, stofen or damaged beyond repair, (9) your driver's license expires or
is suspended, revoked, or canceted; or (10) anything else happens thal we reasonably believe in good faith endangers the vehicie or your ability to pay.

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End of Lease (Continued)

c. Remedies for Default. If you are in default, you will owe your Early Termination Liability provided in section 23.8. and we may take any or all of the
following actions: (1) terminate this tease and your rights to the. vehicle; (2) take possession of the vehice without prior demand, unless notice or
demand ts required by law, (3) take reasonable action to prevent the default or our loss; (4) require you to ratum the vehicle and any related records; (5)
make a claim for Insurance or service contract benefits or refunds available on your default and apply such emount to the amount you owe; or (6) use
any remedy we have at taw or in equily. You agree to reimburse us for any arnounts we choose to pay under this lease that you are required to pay,
including amounts we pay to cover your cefauit or enforce our tight to the vehicte. You agree that in the event we hire an attomey to collect any amount
due or enforce any right or remedy under this lease, you shall pay our attomey fees and court cosis.

It we take possesston of the vehicle as provided In section 23.c.2, we may take any personal property in the vehicle, We will hold the personal property
for you for 20 days. If you do not pick up the property within that time, we may dispose of It In any manner.

We may gamish your wages to colleci the deficiency. if you are or become a Head of Family with Disposable Eamings, as those terms are defined in
Fla. Stat. $222.11 (1) (b) - (c), you agree that we may gemish your Disposable Eamings, to the extent they are greater than $500, in an amoum not to
exceed the maximum amount alowed under the Federal Consumer Credit Protection Act.

24. Interest on Unpaid Amounts. You understand and agree that upon termination of this tease for any reason, if you do not pay us any
amount you owe us upon our demand, you will awe us, in addition to the amount unpaid, interest on such amount at the annual rate cf 6% (or such

lasser maximum fate a3 applicable law permits).

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25. Assignment and True Lease. You understand that this is a true lease and thel you da not have equity or other ownership rights In the
vehicle unfess you purchase 4 from us. You may not assign, sell, sublease os arrange an assumption of your interests or rights under this [ease or tn the
vehicle without our written permission. You understend that we may assign our rights end obligations under this tease at anytime or to anyone, Including
Oatmier Trust, without first notifying you. You agree and grant us permission to provide information about you, the vehicle or this lease to cur affilates at
any time, subject to the terms of the Assignee's Privacy Policy. Lessor and its employees ere not agents of Assignee and have no autharily to obligate
Assignee. Mercedes-Benz Financia! Services USA LLC ("MBFS'), as the servicing agent for Daimler Trust, has the power to act on Daimler Trust's
behaff to administer, enforce and defend this lease. You agree to pay all amounts due under this lease to MBFS or as otherwise directed by MBFS.

28. Late Charges/Returned Payment and Other Fees/Fines and Tickets. If we do not receive the entire amount of your Monthly
. Payment within 10 days after tt fs due, you will pay us a late fee of $80 or 8% of the unpaid amount whichever Is legs. if any check, draft, order, or other
payment instrument is retumed to us for any reason, or if any authorized electronic debit Is not pald,:you will pay us a fee of $25. You agree to pay all
fines and tickets Imposed on the vehicle er Its driver. [f you do not pay such fines or tickets and we pay, you will relmburse us, and pay us an
administration fee of $25 to the extent permitted by law. Uniess prohibited by applicable law, you agree to pay a processing fee in connection with any
payment you make to us by authorizing us, or a Gl payment Service, orally or In witting, to-write a check on your behalf, use automated clearing house
procedures, or use any other commercially accepted praciice to make your payment from your checking or other eccount. The amount of the processing
fee wil be the amount ycu agree to, orally or otherwise, ai the time you authorize us or the bill payment service to process your payment.

27. indemnification. You will defeng, indemnify and hoid harmless Lessor and Assignee from and against any loss and all losses or damages to
the vehicta and from all claims, losses, suits, actions, [labiliiles, costs and axpenses (Including, but not iimited to reasonable attomey fees) refated to
end/or against the use, operation or condition of the vehicle.

28. Notices/General. We wil send notices and correspondence. to you at the billing address you provided:cn this lease. If this address or the
garage address changes, you will Inform us, in writing, within 30 days of the change. To the extent permitted by law, you give us permission to
monitor and record any telephone conversation between you and us. Section headings In this lease are for convenience of reference only and are
fot part of the tease for any other purpose.

As part of a Eke-kind exchange program, the Assignee has engaged MBF Account Services LLC as a qualified intermediary. Dealer is hereby notified
that the Assignee has assigned ta MBF Account Services LLG Its rights (but nef its obligations) in the agreement for the purchase of this vehicie.

in the event the Lessee purchases the vehicie, Lessee ts hereby notified that the Assignee has assigned to MBF Account Services LLC ts rights (but nat
as obGgaticns) in the agreement for the sate of this vehicto.

29. Refundable Security Deposit. The Refundable Security Deposit may be used to pay all amounts that you fall to pay under this tease or to
satisfy any remedy for Defaull. Any portion of the Refundable Security Deposit not applied to amounts that you owe wii be retumed to you after
termination of this tease and our determination that the. amounts you owed at the end of this lease have been paid. Even if we have refunded to you all
oF any portion of the Security Deposit, you are still responsibte for amounts due and owing after tamination of this lease, such as personal property tax.
You may not apply any portion of the Security Deposit to a Monthly Payment. You wil nol eam interest on the Security Deposit. Any interest or monetary

iene to us which may accrue as a resutt of our retention of the Security Deposit will neRher be paid to you nor appifed to reduce your obligations under
ase.

30. Modification. Any change to this lease must be in willing and signed by Assignee, however, if permitted by law, extensions, deferral, or due
date changes may be agreed to orally by you and Assignee and we will send you written confirmation.

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Additional information (Continued)

31. Enforceability. Each person who signs this tease Is joinlly and-severaly lable under this tease and for all payments, whether or not we try to
collect from the other signers. We do not have to repossess the vehicle to exercise any other rights. We do not give up any of our rights by dolayiig or
falling to exercise them. This lease is subject to the laws of the slate where ft was'signed. This lease Is the entire agreement between you and us and ts
binding on anyone who assumes cur interest in it. ‘We are not bound by any statements or representations made by agents or sales people If net
contained In this tease. We make no promises regarding-any tax beneftts to you from leasing. It we waive any provision of this lease or if any provision in
this [ease (s held to be unenforceable, void, illegal er otherwise against applicable law, the other provisions shall survive and be enforceable separately
from any voided provisions, unless otherwise provided tn this lease: .

32. Delivery. You accepi delivery of the vehicte described in this lease and acknowledge that it Is equipped as desciibed, is in good cperating order
and condition, and has the odometer reading recorded on page 1 of this lease In the Vehicle Information section.

33. Payment Obligations. You may not change or stop any lease payments for any. reason, even if you do not receive an Invoice, and even if
the vehicle Is stolen, destroyed, seized by the govemment or a court, expertences mechanical problems, or does not satisfactorily pesform. If you
experfence mechanical or other difficulties with the vehicle; you will pursue these ‘ssues with the manufacturer.

34. Taxes, Registration and Titling. You agree to title, register and Ecense the vehicis in the state In which it is primarily located. You are
aware that the vehicta Is to-be.titiad in our name. You must request any power of attomey required from us to title, register, or ficense the vehicle. You
agree to promptly .pay all fife, registration, kcense, inspection, testing, personal property taxes, and other fees, taxes and charges Imposed by
government authorities In connection with the vehicle, this lease, or any amounts due or payable arising from this lease. We may pay ariy or all license,
tile and registration costs, fees, charges and taxds relating to:the vehicie‘or this lease that you do not pay and you agree to reimburse us for all such
amounts. We have no duty. to account to you for the fees, charges, cr taxes we:pay. You are responsible for any fines, penattles, and/or Interest If you do
not pay a bil when # fs due. if the vehicle Is primarily located in a state other than a state that bills you directly for personal property tax, we will Invaice
you for personal property tax, if applicable, after. we have been billed by the taxing authority. During the term of this lease, you agree to pay the invaice
amount on or before your next Monthly Payment due date. We may receive some bills after this tease has ended. If this lease has ended, you agres to
pay us within 10 days of being Invatced, if this is a Standard Lease, or within 10 days of being invoiced if this Is a Single Payment Lease. Ifthe vehicte is
primarily tocated In a state that bills you directly for personal property tax, you wil pay the state DIRECTLY for the personal property tax owed on the
vehicle, If you do not pay, and we pay the personal-property tax, you will: reimburse us‘the cost of the personal property tax and any penaliies incurred.

35. Security Interest. You grant us a security interest, to the extent permitted by law, in the following, to secure performance of your lease
Obligations: (1) proceeds of any insurance with respect to tha vehicis; (2) proceeds of any service contract purchased with this lease; and @) any
uneamed premiums or refunds of any of the foregoing. You will not allow any lien or encumbrance to attach to the vehicle.

If this is a standard lease as Indicated an page 1 of this tease, Daimler Trust grants a security interest in the vehicle to Daimler Title Co., as collateral
agent, pursuant to the Collateral Agency Agreement dated as of August 1, 2007, as amended.

36. Power of Attomey. You appoint us, to the extent permitted by law, through our appointed officer or emptoyes, as your attomey-tn-fact to act
on your behalf in any Insurance/coverage matter relating to {he vehicle, including, but not fimited to, the power to endorse insurance/coverage proceeds
checks or drafts on your behalf; and cancel any Credi{ Life, Credit Disabiity, Guaranteed Automotive Protection Coverage, Extended Warranty, or other
optional insurance/coverage financed under this lease, and apply the refunded premium or cost to your outstanding balance if you are In defaut. Your
grant of this power of attorney és coupled with an Interest, and is inevecable until all obligations you owe under this lease are paid in full.

37. Lessor's Right to Cancel.

1) Lessor agrees to deliver the vehicle on the date this lease is signed by Lessor and you. You understand that it may take Lessor a few days to verify
your credit, locate financing for you on the exact terms shown th this lease, and assign this lease to a financiat institution. You agres that Lessor has
the number of days stated on page 4 of this leasé:to assign the tease. You agree that if Lessor |s unable to assign this tease within the slated time
pertod to a nancial Institution with whom Lessor regularly does business under an assignment acceptable to Lesscr, Lessor may cancel this tease.
Lessor’s right to cancel-ends Upon assignment of this lease.

2) If Lessor elects to cancel per Paregreph 1 above, Lessor will give you written notice (or in any other manner tn which acluai notice ts given to you). In
that event, you may have the option of negotiating and signing a new lease with different terms or you may pay with altemate funds arranged by you.

3) Upen receipt of the notice of cancellation, you must retum the vehicte to Lessor within 43 hours In the same condition as when detivered other than
reasonable wear for the tne you had R, Except as described below, Lessor must give you back all consideration Lessor has received from you in
connection with this lease.

4) ifthe vehicle Is not retumed within 48 hours after your receipt of the notice of cancellation, you agree that Lessor may take it back using any lawful
means (nefuding repossession If done peacefully) and you will be Habte for all expenses incurred by Lessor in taking the vehicle from you, including
reasonable attomey fees. if you fall to retum the vehicle within 48 hours after receipt of notice of cancellation, you agree to pay Lessor the charge
shown In the Lessors Right to Cancel provision on page 4 of this lease for each day you do not retum the vehicle after receipt of the notice of
canceflation. - ,

§) White the vohicte is in your possession, all tenms of this fease, inctuding.those relating to use-of the vehicle and insurance for the vehicle, are tn full
force and you assume all risk of loss or damage to the vehicle. You must pay all reasonable costs for repair of any damage done to the vehicta while
the vehicle fs in your possession. Lessor may deduct from any .conskeration due to you under Paragraph 3 above Lessor’s reasonable costs to
repair the vehicte and any dally charges you incur if yeu fall to retum the vehicte within 48 hours after receipt of the notice of cancellation. If Lessor
cancels this lease, the terms of this Lessor's Right to Cancel provision (including those on page 4 of this lease) remain in effect even after you no
tonger have possession of the vehicie.

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38. Arbitfation. The following Arbitration provisions significantly affect your rights in any dispute with us. Please read the following
disclosures and.the arbitration provision that follows carefully before you sign the contract.

1. if etther you cr we choose, any-dispute between you and us wil be decided by arbitration and notin court. |

2. If such dispute is arbitrated, you and we will give up the right to a trial by a court or a jury trial.

3. You agree to give up any right you may have to bring a class-action lawsuit or class arbitralion, or to participate in ekher as a claimant, and you agree
fo givé up any right you may have to consolidate your arbitration with the arbitration of others.

4. The Information that can be obtained in discovery from each other or from third persons in arbitration is generally more limited than.In-atawsui.. .  _

§. Other tights thal you and/or we would have in court may not be available mn arbaraticn.

Any claim or dispute, whether in contract, tort or otherwise (including any dispute over the interpretation; scope, cr validity of this lease, Arbitration
Section or the arbitrabiily of any Issue), betwean you and us or any of our employees, agents, successors of assigns, which arises cut of or relates to a
credit appitcation, this tease, or any resulting fansaction or relationship arising out of this lease shall, at the election of ‘either you or Us, OF our
successors or assigns, be resolved by a neutral, binding arbiratian and not by a court actfon. Any claim or dispute.is to be arbitrated on an
Individualbasis and.nol as a class action. Whoever -first demands arbitration may choose to proceed under the appllcabte rules of and be administered by
the Nationa) Center for Dispute Settlement,-43230 Garfietd Road, Suite 130, Clinton Township, Mi 48038 or the Intemet at http:/Avww.ncdsusa.ory/, or
any other organization thal you may choose subject to our approval.

Whichever rules are chosen, the arbitrator shail ba an atlomey or retired judge and shall be salected in accordance with the applicable rules. The
arbitrator shall apply the law in deciding the dispute. Uniess the rutes require otherwise, the arbitration award shall be issued without a written opinion.

* The arbitration hearing shall be conducted in the federal district in which you reside. If you demand arbitration first, you will pay the claimant's initial
arbitration filing fees or case management fees required by the applicable rufes up to $125, and we will pay any additional initial filing foo or case
management fee. We will pay the whole fing fee or case management fea if we demand arbitration first. We will pay the arbitration costs and fees for
the first day of arbitration, up to a maximum of efght hours. The arbitrator shall decide who shail pay any additional costs and fees. Nothing in this
paragraph shall prevent you from requesting thai the applicable arbitration entity reduce or waive your fees, or that we voluntary pay an additional share
of said fees, based upon your financial circumstances or the nature of your claim.

This lease evidences a trensaction invelving interstate commerce. Any arbitration under this tease shall bo govemed by the Federal Arbitration Act (9
USC 1, st s#q.). Judgment upon the award rendered may be:entered In any court having jurisdiction.

Notwithstanding this provision, both you and Lessor end Lessor’s successors and assigns retain the right to exercise self-help remedies and to seek
provisicnal remedies from a court, pending ‘final determination of the dispute by the arbitrafor. Neher you nor we waive the right to arbitrate by
exercising self-help remedies, fillng suit, or seeking or obtaining provisional remedies from a.coutt.

If any clause within this Arbitration section, other than clause 3 or any similar provision dealing with class action, class arbitration or consolidation, fs

_ Sound to be.iegal or unenforesabio, that clause will be severed from this Arbitration section, and the remainder of this Arbitration section will be given full
force and effect. if any part of cause 3 or any sindar provision dealing with class action, class arbitraiion or consciidation is found to be legal or
unenforceable, then this entire Arbitration secticn will be severed and the remaining provisions of this lease shall be given full force and effect as if the
Arbitration section of this Isase had not been inctuded fn this [ease.

 
 

VEHICLE LOCATION CONSENT |

For Morcedos-Benz Vehicles: Notwithstanding anything In the Mercedes-Benz mbrece™ Subscriber Service Agreement (the "Subscriber Agreement’)
or any other similar agreement or document provided or made available to you in connaction with your Mercedes-Benz vehicle, and except as prohibited
by appilcable lew, if you are In default (as: defined herein) and your vehicle has a data recorder or the capabllity to report the vehicte’s location through
your uso of the mbrace™ semices or otherwise, you consent and authorize us and our agents, frepresentatives, and affiliates Including Mercedes-Benz
USA, LLC (MBUSA’) and any servics. provider acting ‘with.it or on its behalf, including ATX Group, Inc. CATX"} and Verizon Telematics, Inc, ('VTI"), to
(a) obtain data from the vehicle including the location of the vehicle, (b) release the data to us, MBUSA, ATX, VTI or their agents, representatives, and
afflates and (c) use such data for the purpose of locating the vehicle, Inciiding with respect to the repossession of i. You agree that notwithstanding
anything to the contrary in the Subscriber Agreement, MBUSA and Its agents, representatives, and affillates {Including bul not imited to ATX and VTi}
are intended to be protected by the consent you are giving in this document, and that those parties aro and will bo relying upon such consent as
releasing them from any potential [tability for such use of any data. You also agree that your consent wif supersede any past or future sending of notice
by you under the Subscriber Agreement, allowing you to request thet certain information retrieved from your vehicta's sensing or diagnostic modules not
be used (er any other comparable section of the Subscriber Agreement or other document), and that your consent shal be fully enforcaable and
effective notwithstanding your sending any such notice, or exercising any such right.

For good and valuable consideration, the recelpt and Suffictency of which is hereby acknowledged, you, on behalf of you, your successors and your
assigns, intentionally, knowingly and trevecably hereby retesse and discharge us and our affiliates, officers, directors, managers, members, insurers,
shareholders, employees, attomeys, agents, representatives, predecessors, successors, assigns and all others acting by, through, under or in concert
with them (the "Releasees") including, without limitation, MBUSA and any service provider acting on MBUSA’s behalf, from all claims, tiabittias,
obligations, damages, losses, costs, expenses, dabts, lions, sults, actions and/or causes of action, at law orin equity, of every kind, character and nature
whatseever, whether known or unknown, suspectad or unsuspected, contingent or fixed, direct or Indirect, which have existed or may have existed, or
which do exist or which hereafter can, shal or may exist in any way based upon or related to the subject matter of this consent. This Includes, in the
case of MBUSA, ATX, VTI and anyone acting with them, any claim based on an allegation that activities fo locate or Tepossess your vehicle as
consented to herein: were undertaken without you being In default. You represent, warrant and covenant nol to sue, of commence an arbitration or other
proceeding against any of the Releases, to enforce any charge, claim or cause of actlon released herein.

 
 
  

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EF-001-6086 FL (10/18) All rights reserved. Lessee Initlats 00 Inttlae Ne CO

 

 
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Mail Lien Satisfaction to: Dept of Highway Safety and Motor Vehicles, Neil K itding, Tallah FL 32398-0500

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Date of Issue 12/14/2016

 

 

 

 

 

 

 

 

Registered Owner: Unn Release
DAIMLER TRUST Interest in the deseribed vehicle is hereby released
PO BOX $97545 By.
SACRAMENTO CA 95899-7545 Tale
Date.
IMPORTANT INFORMATION
1. When ownership of the vahicle described herein is
transferred, ihe sellar MUST complete in full the
Transter of Title by Saller section at tha bottom of
Mail To the cartificate of title.
Mail To:
2. Upon sale of this vehiclo, the seller musi complete
DAIMLER T 4g28 2016 the notice of sale on the raverse side of this form.
PO BOX ooreas co 3. Ramove your licanse plate from the vehicle.
SACRAMENTO CA 95899 4. Saa ihe web address below for more information and
the appropriate forms required for the purchaser to

lille and register the vehicta, mobile home or vessel:
hitp:/Avww.fihsmy.gow/himltitlinf. htm!

 

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JOddmeter Status or Vessel Manufacturer or OH use = ull Material T Prop —— Date of issue —

: 16 MILES 11/29/2016 ACTUAL 12/14/2016
Registered Owner .

DAIMLER TRUST
PO BOX 997545
SACRAMENTO CA 95899-7545

~ aE

 

 

 

 

Date.

 

 

 

1st. Lienholder

11/29/2016
DAIMLER TITLE CO
PO BOX 997545
SACRAMENTO CA 95899

DIVISION OF MOTORIST SERVICES TALLAHASSEE . A rE} FLORIDA DEPARTMENT OF HIGHWAY SAFETY AND MOTOR VEHICLES

we on Mind
Rett K. Kye Control Number a 28 3 9 7 5 0 6 a Yo9 § . KGanbs.

Terry L. Rhodes

Ri R. Ky
ebert R. Kynoch Executive Director

Director

TRANSFER OF TITLE BY SELLER (This section musi be completed at the time of sais.)
Federal andor sate law require tht the veller stute the milege, purchaser's nante, selling price and dote sold in connection with the ounsfer of ownership.
Failure to complete or providing o talre stuternent may resull in finey and/or imprisonment
‘This title ix warranted to be tree trom any liens except ax noted on the face of the certilicate und the motor vebicle or vessel described is hereby tranxterred to:

Setler Must Enter Purchaser's None: Address:
Seller Musi Enter Selling Price: Seller Mz Eater Nate Sald:

 

 

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UNDER PENALTIES OF PERJURY, | DECLARE THAT I HAVE READ THE FOREGONG DOCUMENT AND THAT THE FACTS STATED WN IT ARE TRUE.

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Aaction Nave .- License Number:

 

 

 

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NOTICE: PENALTY {S REQUIRED BY LAW IF NOT SUBMITTED FOR TRANSFER WITHIN 30 URYS AFTER DATE OF PURCHASE

 
 

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

 

In re

Case No  18-21590
Alfredo Lopez,

Debtor(s) Chapter 13

AFFIDAVIT OF INDEBTEDNESS IN SUPPORT OF DAIMLER TRUST’S MOTION
FOR RELIEF FROM STAY

Before me, the undersigned authority, personally appeared Sofia Taylor ;
who, being duly sworn, deposes and says:

1 Iam Sofia Taylor . Iam employed as a Bankruptcy Specialist by
Daimler Trust (“Creditor”)

2 This affidavit is based upon Creditor’s loan payment records as of April 15, 2020.
These records are regularly maintained in the course of business of Creditor and 1t is the regular
practice of Creditor to make and maintain these records. These records reflect loan payments
that are noted in the records at the time of receipt by persons whose regular duties include
recording this information I maintain these records for Creditor and regularly use and rely upon
them in the performance of my duties.

3. Debtor maintains a lease, account number XXXX2001, with Creditor Creditor
holds an ownership interest in the following property:

2017 MERCEDES-BENZ GLS450W4, VIN 4JGDF6EEXHA846452

4 The payments on this lease account, due for partial payment on February 8", 2020
in the amount of $4.16, full payments from March 8", 2020 through April 8", 2020, in the
amount of $1,021.26 each, Non-sufficient funds fees in the amount of $25.00, have not been

received by Creditor.

Exrnibrt C

 
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The payoff balance owed on this lease account is $53,564.58, as of April 15

5
2020, excluding attorney fees and costs
Creditor does not have current verifiable proof of collision and comprehensive

6
msurance covering the vehicle
The contract and proof of title attached to this motion as exhibits are true and

 

 

 

 

 

7
accurate copies of the original documents
8. This concludes my affidavit.
Sofia Taylor ©
SWORN TO AND SUBSCRIBED TO before me under penalty of perjury as being true
and correct based on the personal knowledge of Creditor’s books and business records this
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personally known to the.
NOTARY PUBMC:
Sign: MM \W2 y Aq
Print: (Y\eean Whe ae

 

 

 

 

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MEGAN WRIGHT
Notary Public, State of Texas (
State of Texas at Large
My Commission Expires’ Al 23) 2023

 

 

 

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“nti Notary 1D 132182207

 

 
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

IN RE:
ALFREDO LOPEZ, Case no. 18-21590-BKC-AJC
Chapter 13 Case
Debtor(s). /

 

ORDER GRANTING DAIMLER TRUST’S MOTION TO CONFIRM THAT THE AUTOMATIC
STAY IS NOT IN EFFECT

 

THIS CAUSE came before the Court on xxx, 2020 at xxx p.m., on
Daimler Trust’s Motion To Confirm That The Automatic Stay Is Not In
Effect (DE #XX). Upon consideration of the motion and the record, it
is

ORDERED that:

1. The Motion To Confirm That The Automatic Stay Is Not In Effect
In Rem As To The Vehicle filed by Daimler Trust (“Movant”) is GRANTED

and there is no stay in effect in rem and Movant may repossess or replevy

ior {)
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the 2017 MERCEDES-BENZ GLS CLASS UTILITY 4D GLS450 AWD 3.0L V6 TURBO,
VIN 4JGDF6EEXHA846452, sell the vehicle, and apply the proceeds of the

sale of the vehicle to the amount owed to Movant.
~---2,. The codebtor stay imposed pursuant to 11: U.S.C. Section 1301
as it relates to Yanisleidy Garcia Hernandez has terminated and Movant
may enforce its in personam rights against Yanisleidy Garcia Hernandez.
3. Rule 4001 (a) (3) of the Federal Rules of Bankruptcy Procedure

is not applicable.

##t#
Copies furnished via ECF to:

Gerard M. Kouri, Jr., Esq., counsel for Movant
Office of the US Trustee

Nancy K. Neidich, Trustee

Robert Sanchez, Esq., attorney for debtor

Attorney Kouri is directed to mail a conformed copy of this Order to
Alfredo Lopez, debtor, and Yanisleidy Garcia Hernandez, non-debtor,
immediately upon receipt of this Order and shall file a certificate
of service with the Clerk of the Court.

Submitted by:

GERARD M. KOURI, JR., P.A.

5311 King Arthur Ave, Davie, FL 33331
Tel (954) 862-1731; Fax (954) 862-1732
Email: gmkouripaecf@gmail.com
